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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

VS.                                                                NO.: 3:21-CR-107-NBB-RP

JAMARR SMITH, et al.

                   EXPEDITED MOTION FOR ESCORTED RELEASE

                          TO FUNERAL HOME FOR VISITATION

       COMES NOW, the Defendant, Jamarr Smith (“Mr. Smith”), by and through the counsel,

and files this his Expedited Motion for Escorted Release to Funeral Home for Visitation and in

support of said motion, would state unto the Court as follows:

       1. Mr. Smith respectfully moves this honorable Court for an Order directing the United

           States Marshal Service to escort Mr. Smith to a viewing of the body of his deceased

           grandmother, Cleophia Blackburn at the Cooley’s Mortuary, 327 Panola Avenue,

           Batesville, Mississippi for up to one (1) hour of viewing time between the hours of

           1:00p.m. and 5:00p.m. on Wednesday, March 6, 2024.

       2. On June 13, 2023, Mr. Smith was sentenced by the Court to 120 months following a

           guilty verdict on the charges of Conspiracy to Commit Armed Robbery of a U.S.

           Postal Worker and Aiding and Abetting Armed Robbery of a U.S. Postal Worker.

       3. Mr. Smith is currently in custody of the Bureau of Prisons in Yazoo City, Mississippi.

       4. Prior to being in custody, Mr. Smith was on pretrial release subject to an unsecured

           bond. For the approximately 15 months Mr. Smith was on pretrial release, he had

           zero pretrial violations.

       5. The notice of death from the Facebook page of Cooley’s Mortuary is attached hereto

           as Exh. A. This confirms the visitation time between 1:00p.m. and 5:00p.m.,
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          Wednesday, March 6, 2024.

       6. That Robert Mims, the Assistant United States Attorney assigned to this case, has

          informed counsel that he does not oppose this request as long as the viewing is

          private and without other family present.

       WHEREFORE, PREMISES CONSIDERED, the defendant, Jamarr Smith, respectfully

requests an Order directing the United States Marshal Service to arrange for Mr. Smith to be

escorted to Cooley Mortuary on Wednesday, March 6, for a viewing of his deceased

grandmother for up to one (1) hour between the hours of 1:00p.m. and 5:00p.m.

       DATED: March 5, 2024.



                                           RESPECTFULLY SUBMITTED,

                                           JAMARR SMITH

                                           HICKMAN, GOZA & SPRAGINS, PLLC
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                                      BY: /s/ Goodloe T. Lewis                  _
                                         GOODLOE T. LEWIS, MSB # 9889
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                                 CERTIFICATE OF SERVICE

       I, GOODLOE T. LEWIS, attorney for JAMARR SMITH, do hereby certify that I have on

this date electronically filed the foregoing document with the Clerk of Court using the ECF

system which sent notification of such filing to all counsel of record, including:

Robert Mims
Office of the US Attorney
900 Jefferson Avenue
Oxford, MS 38655
rmims@usadoj.gov


       DATED: March 5, 2024.



                                                      /s/ Goodloe T. Lewis           _
                                                      GOODLOE T. LEWIS


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